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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             Chapter 11
In re:
                                                             Case No. 19-23649 (RDD)
PURDUE PHARMA L.P., et al.,
                                                             (Jointly Administered)
          1
Debtors.


    ORDER EXTENDING THE EXCLUSIVE PERIODS WITHIN WHICH TO FILE
        A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

         Upon the timely motion (the “Motion”)2 of Purdue Pharma L.P. and its affiliates that are

debtors and debtors in possession in these cases (collectively, the “Debtors”) for entry of an

order (this “Order”), pursuant to section 1121(d) of the Bankruptcy Code, extending the

Exclusive Periods, as more fully described in the Motion; and the Court having jurisdiction to

consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157(a)-(b) and

1334(b) and the Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska,

C.J.); and consideration of the Motion and the relief requested therein being a core proceeding

under 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C. §§

1408 and 1409; and due and proper notice of the Motion having been provided to the Notice


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 The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the
applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue
Transdermal Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue
Pharmaceuticals L.P. (0034), Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745),
Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue
Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue Pharmaceutical Products L.P. (3902),
Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805), Button Land L.P. (7502),
Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201
Tresser Boulevard, Stamford, CT 06901.
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  Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in
the Motion.
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Parties, and it appearing that no other or further notice need be provided; and the Court having

reviewed the Motion and held a hearing to consider the relief requested in the Motion on January

24, 2020 (the “Hearing”); and there being no objections to the requested relief; and, after due

deliberation the Court having determined that the legal and factual bases set forth in the Motion

and at the Hearing establish good and sufficient cause for the relief granted herein; and the Court

having determined that the relief requested is in the best interests of the Debtors, their estates,

creditors and all parties in interest; now, therefore,

IT IS HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      The Exclusive Filing Period is extended by one hundred eighty (180) days

through and including Monday, July 13, 2020. The Exclusive Solicitation Period is extended by

one hundred eighty (180) days through and including Wednesday, September 9, 2020.

        3.      This Order is without prejudice to the Debtors’ right to seek further extension of

the Exclusive Periods and the right of any party in interest to seek to terminate the Exclusive

Periods, for cause.

        4.      The contents of the Motion and the notice procedures set forth therein are good

and sufficient notice and satisfy the Bankruptcy Rules and the Local Rules, and no other or

further notice of the Motion or the entry of this Order shall be required.

        5.      The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.

Dated: White Plains, New York
       January 27, 2020

                                                /s/Robert D. Drain
                                                HONORABLE ROBERT D. DRAIN
                                                UNITED STATES BANKRUPTCY JUDGE
